UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


STEUBEN FOODS, INC.,                                             1:10-cv-00780-EAW-JJM
                                                                 1:10-cv-00781-EAW-JJM
                     Plaintiff,                                  1:12-cv-00904-EAW-JJM
                                                                 1:13-cv-00892-EAW-JJM
       v.                                                        1:13-cv-01118-EAW-JJM

OYSTAR GROUP ET AL.,                                                  Oral Argument:
                                                                     February 26, 2019
                     Defendants.                                         10:00AM



            STEUBEN FOODS, INC.’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Appended hereto is the Federal Circuit’s recent decision in CenTrak, Inc. v. Sonitor

Technologies, Inc., No. 17-2510, ___ F.3d ___, 2019 WL 612573 (Fed. Cir. Feb. 14, 2019),

which Steuben brings to the Court’s and parties’ attention in advance of the February 26, 2019,

oral argument on Steuben’s Objections [Dkt. 548 in 12-904] to the October 1, 2018, Report and

Recommendation [Dkt. 536 in 12-904].


DATED:        February 19, 2019                    Respectfully submitted,

                                                          /s/ Joseph L. Stanganelli
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                                                   Attorneys for Plaintiff Steuben Foods, Inc.
                               CERTIFICATE OF SERVICE
        I hereby certify that on February 19, 2019, I caused the foregoing document to be served
electronically on Defendants’ counsel of record.

                                                   /s/ Joseph L. Stanganelli
                                                   Joseph L. Stanganelli
